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             EXHIBIT A
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  Lot Numbers       Failure Reason:    Amount in Inventory     Expiration dates
  K-CWP08C3         Foreign Material       23,100 lbs             08/15/24
  K-CWP08D5         Foreign Material       10,780 lbs             08/27/24
  K-CWP09C6         Foreign Material       18,480 lbs             09/15/24
  K-CWP09D1         Foreign Material       23,100 lbs             09/25/24
   K-CWP10A1        Foreign Material       15,400 lbs              10/2/24
  K-CWP10A10        Foreign Material        3,080 lbs              10/6/24
   K-CWP11A7        Foreign Material        1,540 lbs              11/3/24
NVR-CWP-2440K       Foreign Material       92,345 lbs               9/9/24
NVR-CWP-2452K       Foreign Material       92,345 lbs             10/15/24
NVR-CWP-2455K       Foreign Material       61,600 lbs              11/4/24
  K-CWP09D4         Foreign Material        1,650 lbs              9/26/24
   K-CWP11B1        Foreign Material       11,550 lbs              11/7/24
   K-CWP10A8        Foreign Material     18,019.38 lbs             10/5/24
  K-CWP05C1         Foreign Material      6,817.85 lbs            5/14/24*
   K-CWP06B3        Foreign Material       1,542.8 lbs            6/14/24*
  K-CWP08B11        Foreign Material        3,080 lbs              8/24/24
NVR-CWP-2423K       Foreign Material     18,292.28 lbs             7/20/24
NVR-CWP-2428K       Foreign Material     28,774.76 lbs              8/4/24
NVR-CWP-2407K       Foreign Material        1,650 lbs              5/9/24*
NVR-CWP-2456K       Foreign Material       61,600 lbs             11/14/24
NVR-CWP-2460K       Foreign Material       61,600 lbs              1/11/25
NVR-CWP-2462K       Foreign Material       61,600 lbs              1/17/25
 K24-CWP01B6        Foreign Material       30,800 lbs              1/12/25
 K24-CWP01C5        Foreign Material       30,800 lbs              1/17/25

  *expired batches as of 7/11/24
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   Lot Code                                 Photos
K-CWP08C3




K-CWP-08D5
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K-CWP09C6




K-CWP09D1
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K-CWP10A1




K-CWP10A10
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K-CWP10B4




K-CWP11A7
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NVR/CWP/244
0K




NVR/CWP/245
2K
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NVR/CWP/245
5K




K-CWP09D4
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K-CWP11B1




K-CWP10A8
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K-CWP05C1




K-CWP06B3
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K-CWP08B11




NVRCWP2423
K
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NVRCWP2428
K




NVR-
CWP2407K
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NVR-CWP-
2456K




NVR-CWP-
2460K




NVR-CWP-
2462K
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K24-CWP01B6




K24-CWP01C5
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1. PURPOSE
     1.1. To verify the quality of the raw material, coconut powder for use in production of PRIME Hydration
2.   SCOPE
     2.1. To meet the standards and specifications of foreign matter in Coconut Water Powder that are set by the raw
          material specification sheet.
3. DEFINITIONS
     3.1. COA: Certificate of Analysis
     3.2. Foreign Matter: Foreign matter or material is defined as any non-food substance, foreign body, or contaminants
          that may cause illness or injury to the consumer. These materials are not typically part of the raw material ingredient
          and are not intended to be present in the final food product.
     3.3. Color: Color is the quality of an object or substance concerning the light it reflects.
4. RESPONSIBILITIES
     4.1. Quality Assurance Specialist:
         4.1.1. Receive in 1 box of coconut per lot/batch and capture lot code
         4.1.2. Follow procedure for raw material receiving and coconut water powder inspection
5.   PROCEDURE
     5.1. Raw Material Receiving
         5.1.1. Verify the COA
         5.1.2. Capture the lot code
     5.2. Coconut Powder Inspection
         5.2.1. Receive and open one box of coconut water powder per lot/batch
         5.2.2. Review the powder against coconut water powder specifications
         5.2.3. Ensure powder is free of excess moisture.
         5.2.4. Odor: coconut/nutty/earthy. No evidence of off odor.
         5.2.5. Appearance: sheet white, ivory, cream, almond, light beige.
              5.2.5.1. See attachment 6.1 and 6.2 for approved and unapproved colors of powder.
              5.2.5.2. The first three of six samples are approved colors by Congo QA for CWP, remaining three are OUT of
                       Specification
         5.2.6. Review for Foreign Matter: For every 1,000lbs of coconut powder received, inspect 1%. Ex: 1,000lbs inspect
                10lbs of coconut powder.
              5.2.6.1. See attachments 6.3-6.6 for examples of foreign material
              5.2.6.2. Inspection:
                   5.2.6.2.1. Sift through 1% of coconut powder using first a 2 mm screen, then 0.7mm screen.
         5.2.7. Approve the lot and capture the approved lot code
     5.3. Rejection Criterion:
         5.3.1. Failure to meet color/appearance standard
         5.3.2. Failure to meet odor standard
         5.3.3. Failure if any foreign material is identified
              5.3.3.1. If any lot of coconut water powder fails inspection, place on Hold and notify Congo Brands Quality
                       Representative
     5.4. Escalation Protocol
         5.4.1. Coconut Water Powder passes procedural inspection
              5.4.1.1. Accept lot and move into inventory
         5.4.2. Coconut Water Powder fails procedural inspection
              5.4.2.1. Place on hold and notify Congo Brands Quality Unit
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6. ATTACHMENTS & DOCUMENTS




  6.1.




  6.2.




  6.3.




  6.4.
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6.5.




6.6.
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                                                                                                                                           Coconut Inspection

           Lot Code        Expiration    Pass/Fail       Testing Cost              Savannah River Inventory            $             Freight in   Black Mountain         $           Freight in Manna Anaheim       $
         K-CWP08C3         8/15/2024       Fail                                                                                                           23,100   $   80,619.00   $ 50,719.35                  $       -
         K-CWP08D5         8/27/2024       Fail                                                                                                           10,780   $   37,622.20   $ 23,585.96                  $       -
         K-CWP09C6         9/15/2024       Fail                                                                                                           18,480   $   64,495.20   $ 36,357.30                  $       -
         K-CWP09D1         9/25/2024       Fail                                                                                                           23,100   $   80,619.00   $ 45,161.99                  $       -
         K-CWP10A1         10/2/2024       Fail                                                                                                           15,400   $   53,746.00   $ 30,029.00                  $       -
         K-CWP10A10        10/6/2024       Fail                                                                                                            3,080   $   10,749.20   $   6,001.48                 $       -
         K-CWP11A7         11/3/2024       Fail                                                                                                            1,540   $    5,374.60   $   2,982.00                 $       -
       NVR/CWP/2440K       9/9/2024        Fail                                                      92,345     $ 322,284.05      $ 183,870.63                     $         -                                  $       -
       NVR/CWP/2452K      10/15/2024       Fail                                                      92,345     $ 322,284.05      $ 39,134.11                      $         -                                  $       -
       NVR/CWP/2455K       11/4/2024       Fail                                                      61,600     $ 214,984.00      $ 32,305.74                      $         -                                  $       -
         K-CWP09D4         9/26/2024       Fail      $                  6,000.00                                                                          1,540    $    5,374.60   $   2,982.00                 $       -
         K-CWP11B1         11/7/2024       Fail                                                                                                                    $         -                                  $       -
         K-CWP10A8         10/5/2024       Fail      $                  2,800.00                                                                                   $         -                         16,479   $ 57,513.04
         K-CWP05C1         5/14/2024       Fail      $                  2,800.00                                                                                   $         -                          6,818   $ 23,794.30
         K-CWP06B3         6/14/2024       Fail                                                                                                                    $         -                          1,543   $ 5,384.37
         KCWP08B11         8/24/2024       Fail      $                  2,800.00                                                                          3,080    $   10,749.20   $   6,706.26                 $       -
        NVRCWP2423K        7/20/2024       Fail                                                                                                                    $         -                                  $       -
        NVRCWP2428K        8/4/2024        Fail                                                                                                                    $         -                                  $       -
       NVR-CWP-2407K       5/9/2024        Fail      $                  2,800.00                                                                                   $         -                                  $       -
       NVR/CWP-2456K      11/14/2024       Fail
       NVR/CWP-2460K       1/11/2025       Fail
       NVR/CWP-2462K       1/17/2025       Fail
        K24-CWP01B6        1/12/2025       Fail
        K24-CWP01C5        1/17/2025       Fail
                                                     $              17,200.00                       246,290     $ 859,552.10      $ 255,310.48          100,100    $ 349,349.00    $ 204,525.34        24,840   $ 86,691.70

 RM                     $ 2,371,619.27
Freight                 $ 695,706.45
Testing                 $    24,700.00
Subtotal                $ 3,094,368.94
Affected FG             $    94,032.00
Total Quality Claim     $ 3,188,400.94
minus expired product   $    57,544.93
Final Quality Claim     $ 3,130,856.02
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 Freight In     Manna West Sac        $         Freight in   CDS Stockton        $          Freight in    DSV            $          Freight in     CDS Muskogee              $         Freight in   Prep Partners        $          Freight in
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                      1,650   $ 5,758.50              565                           $       -                                  $        -
                                  $       -                                 $       -                     11,550   $ 40,309.50           3,960                           $       -                                  $        -
$ 30,747.06                       $       -                                 $       -                              $       -                                             $       -                                  $        -
$ 13,368.00                       $       -                                 $       -                              $       -                                             $       -                                  $        -
$ 3,074.00                        $       -                                 $       -                              $       -                                             $       -                                  $        -
                                  $       -                                 $       -                              $       -                                             $       -                                  $        -
                          4,377   $ 15,276.71   $ 1,501.75         9,900    $ 34,551.00    $ 3,396.70              $       -                                     4,015   $ 14,012.35   $ 1,377.45                   $        -
                          4,685   $ 16,349.81   $ 1,606.96        23,100    $ 80,619.00    $ 7,925.64              $       -                                       990   $ 3,455.10    $ 339.67                     $        -
                                  $       -                                 $       -                      1,650   $ 5,758.50      $   565.76                            $       -                                  $        -
                                                                                                                                                                                                          61,600       214984      $ 41,860.66
                                                                                                                                                                                                          61,600       214984      $ 41,860.66
                                                                                                                                                                                                          61,600       214984      $ 41,860.66
                                                                                                                                                                                                          30,800       107492      $ 20,930.33
                                                                                                                                                                                                          30,800       107492      $ 20,930.33
$ 47,189.06               9,062   $ 31,626.52   $ 3,108.71        33,000    $ 115,170.00   $ 11,322.34    14,850   $ 51,826.50     $ 5,090.76                    5,005   $ 17,467.45   $ 1,717.12        246,400    $ 859,936.00   $ 167,442.64

              Manna West Sac FG
              CHF 24046                 13005
              STB 24059                  1121
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